
85 N.Y.2d 904 (1995)
Mary Sands, Individually and on Behalf of All Others Similarly Situated, Appellant,
v.
Ticketmaster-New York, Inc., Doing Business as Ticketmaster, Respondent, et al., Defendants.
Court of Appeals of the State of New York.
Submitted December 19, 1994.
Decided March 30, 1995.
Motion, insofar as it seeks leave to appeal from that part of the Appellate Division order which affirmed that portion of Supreme Court's order denying plaintiff's cross motion for permission to amend her complaint, dismissed upon the ground that that part of the order sought to be appealed from does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied. Motion to supplement the record on appeal denied.
